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From: Vern Woodward

To: §hrists:ns§o._&amn_u._t$.u)_t£&l); $uels..LQcLLuEAMD

Cc: £ammudtcmuacd; Gl|lian_Gasr.n; Sullixan...lohn_£u$AMD_l
Subject: Re: Ange|ica Whiteman

Date: 111ursday, February 01, 2018 3:16:40 PM

Thank you.

Vem Woodward

On 'I`hu, Feb 1, 2018 at 3: 14 PM -0700, "Christensen, Aaron D. (SU) (FBI)"
<adchnatensen@tbignx> WrOfC1

‘ I got the phone from a girl in Busby who found the calendar item and contacted law
enforcement I’ve tried to backtrack on the chain of ownership to figure out who had it when
the calendar item was created, but have not been successful I also tried to identify the owner

via forensic review, but was again unsuccessful

5 All of my documentation on this has been turned over to the USAO.

-------- Original message ----~-~~
From: Vern Woodward <Vern@woodwardlaw-mt.com>
Date: 2/1/ 18 3:04 PM (GMT-07:00)
To: "Suek, Lori (USAMT)" <Lori.Suek@usdoj.gov>
Cc: Cammi Woodward <Carnmi@woodwardlaw-mt.com>, Gillian Gosch
<gil]jan_gosch@fd.org>, "Sullivan, John (USAMT) l" <John.SullivanZ@usdoj.gov>,
"Christensen, Aaron D. (SU) (FBI)" <adchristensen@fbi.gov>
3 Subject: Re: Angelica Whiteman

' Sorry to bother you on vacation. Try to enjoy without us bugging you

Vern Woodward

On Thu, Feb 1, 2018 at 2159 PM ~0700, "Suek, Lori (USAMT)" <m§g§k@lmdgj£gl>

t wrote:

I am on vacation in California on vacation until next wednesday but Aaron
can explain better than me anyway

Sent from my

On Feb 1, 2018, at 1:53 PM, Vern Woodward > wrote:
GOVERNMENT

well. my friend? How did Aaron obtain the phone? 7 EleBl-r

 

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'vern Woodward

On Thu, Feb l, 2018 at 2:36 PM -0700, "Cammi Woodward" > wrote:

Lori .
Thanh you for the response. Can you tell us how the phone came into the

jpossession of the government?

:Cammi Woodward

§On Thu, Feb l, 2018 at 2:28 PM -0700, "Suek, Lori (USAMT)" > wrote:

§Vern

§The FBI does have a cell phone and has been investigating ownership of the
gphone. Unless I am unaware of recent developments, we have not linked the
§phone to Judaya Threefingers. Aaron will obviously correct me if I'm
;wrong.

§Sent from my iPhone
ion Feb 1, 2018, at 12:39 PM, Vern Woodward > wrote:
§Lori,

§We just learned that the government has a cell phone belonging to Ms.
iThree Fingers which purportedly contains messages concerning this case.
;We respectfully request that we be given discovery concerning that,
2particularly the content of the messages.

§Thank you.

§Vern Woodward

woodward Law Firm, PLLc
f49 North 15th, Suite 1
_ P. 0. Box 1657
§Billings, M'r 59103-165'7
fPhone:_ (406) 294-5585
l1-'ax: (406) 294-5586

